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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

ANTHONY JAKES,

                        Plaintiff,                      Case No. 19-cv-02204

                 v.                                     Hon. Manish S. Shah

KENNETH BOUDREAU et al.,                                Hon. Sheila M. Finnegan

                        Defendants.


  PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION TO DEFENDANTS
         BOUDREAU, CEASAR, PACK, DELACY, BURKE, AND BONKE

          Pursuant to Federal Rule of Civil Procedure 34, plaintiff Anthony Jakes, through counsel,

serves the following requests for production upon Defendants Boudreau, Caesar, Pack, Delacy,

Burke, and Bonke, to be answered within 30 days after service.

                              DEFINITIONS AND INSTRUCTIONS

          1.     “Plaintiff” refers to plaintiff Anthony Jakes, as well as his counsel and any of his

representatives, agents, or other Persons acting on his behalf.

          2.     “Defendant,” “You,” and “Your” refers to any party upon whom these requests is

served, as well as his or its counsel and any consultants, experts, investigators, representatives,

agents, or other Persons acting on his or its behalf.

          3.     “Defendant Officers” refers to Kenneth Boudreau, Michael Kill, Louis Caesar,

Thomas Pack, Michael Delacy, Ken Burke, and Fred Bonke, as well as their counsel and any

consultants, experts, investigators, representatives, agents, or other Persons acting on their

behalf.

          4.     “Garcia homicide investigation” refers to any action taken by Defendant, the

Defendant Officers, or other Investigators to determine the cause of death of Rafael Garcia, the
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circumstances surrounding his death, and the person or people responsible for his death. This

term is not limited solely to the actions leading to the prosecution of Arnold Day and Anthony

Jakes, but includes actions taken with regard to other possible suspects.

        5.      “Investigator” means any person who participated in the Garcia homicide

investigation, including the Defendant Officers, Michael Kill, and any other law enforcement

officers, co-workers, colleagues, assistants, agents, or advisors who were involved in any way

with the Garcia homicide investigation.

        6.      “Relate,” “relating to,” or “regarding” means directly or indirectly mentioning or

describing, pertaining to, being connected with, reflecting upon, or having any logical or factual

connection with a stated subject matter.

        7.      “Person” refers to any individual, corporation, partnership, organization, or other

legal entity.

        8.      “Document” refers to documents and information, including electronically-stored

information (“ESI”), subject to production under Rule 34.

        9.      “Communication” means the exchange of information between two or more

Persons, whether orally, in writing, or by any other means.

        10.     “Complaint” refers to any complaint or criticism, including but not limited to

written complaints, grievances, disciplinary records, personnel records, legal proceedings, or

other Documents relating in any manner to the Defendant Officers’ job performance or the job

performance of any of their counsel, consultants, employees, representatives, agents, contractors,

experts, investigators, or other Persons acting on their behalf, regardless of the disposition of any

resulting inquiry or investigation.




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       11.     “And” and “or” shall be construed to give the words their broadest possible

meaning.

       12.     In construing a request, the singular shall include the plural and the plural shall

include the singular, and the use of a masculine, feminine, or neuter pronoun shall not exclude

any of the others. The past tense includes the present tense and the present tense includes the past

tense where the clear meaning is not destroyed by the change.

       13.     If you withhold a document on the basis of attorney-client privilege, attorney

work product privilege, or any other privilege or immunity, state the reason you withheld the

document and produce a privilege log that identifies: the nature of the privilege asserted; the

document’s custodian, author, date, subject matter, and present location; all recipients of the

document; and all attachments transmitted with the document.

       14.     If a document that is responsive to a request has been destroyed, identify the

document, its last known location and custodian, and the reason it was destroyed or

circumstances of its destruction.

       15.     Documents that are stored electronically shall be produced in their native format

if production in the native format would provide information not contained on the face of the

document if produced in another format.

       16.     Any request for a Document is also a request to produce all iterations of that

Document, including all earlier and all later versions of the Document.

       17.     If there are no Documents or information in your possession, custody, or control

responsive to a particular request, you shall expressly state as much in your written response to

the relevant request.

       18.     If any Documents or information responsive to Plaintiff’s discovery requests are



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known by you to exist but are not in your possession, custody, or control, please identify those

Documents or that information and the Person who has possession, custody, or control thereof.

        19.     Unless otherwise stated, the relevant time period for these discovery requests is

the period beginning ten years before the date of Rafael Garcia’s murder continuing through the

conclusion of this litigation.

                                 REQUESTS FOR PRODUCTION

        1.     Any and all Documents that relate to, support, or rebut any of the allegations or
claims in Plaintiff’s Complaint.

      2.      All Documents relating to or supporting Defendants’ Affirmative Defenses and
Answer to the Complaint, including all documents upon which Defendants may rely at trial.

        3.      Any and all Documents prepared in connection with the Garcia Murder
Investigation and the investigation, arrest, interrogation and charging of Plaintiff for the murder,
including but not limited to any and all police reports, collected evidence, lab reports,
handwritten notes, crime scene photographs, photo arrays, and photographs or statement of the
Plaintiff, or of other witnesses. The request specifically includes but is not limited to the
complete Department Permanent Retention File and the complete Investigative File, Area File,
Unit File, or Street File with respect to the Garcia Murder Investigation.

        4.      All Documents relating to Enrique Lujan, Gus Robinson, Marco Garcia, Arnold Day,
Mattie Gibson, Martin Reeves, Gurgid Singh, Denise Harris, Annetee Harris, Ronnie Sloan, Andre Green,
Tyrone Pitts, Michael Sampson, Cleotha Chairse, and/or Victor Clemons.

       5.      Any photographs of Plaintiff or any other persons that were shown to any
witnesses during the Garcia Murder Investigation.

       6.    All photographs depicting line-ups that were viewed by any witnesses during the
Garcia Murder Investigation.

      7.     Any Documents relating to any confidential informants that were used by the
Department during the Garcia Murder Investigation.

      8.        Any and all Documents relating to Plaintiff’s interrogation(s) for the Garcia
Murder.

       9.      All Documents, including any and all attachments and investigator notes, relating
to any internal investigation (e.g., OPS, Internal Affairs, OPR, IPRA, etc.) undertaken by the
Department in connection with the events described in Plaintiff’s Complaint.



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       10.     All Documents, including Street Files or running files, which were not included in
the Investigative File and that summarize, reflect or describe any police actions related to the
Garcia Murder Investigation.

        11.    All Documents, including Street Files, general progress reports, supplementary
reports and/or notes that reflect or describe the photo arrays, line-ups and/or witness interviews
conducted during the Garcia Murder Investigation.

        12.      All Documents relating to whether the Plaintiff committed any illegal act in
relation to the incident described in Plaintiff’s Complaint.

       13.    Any and all Documents related to any Complaint of any person against any of the
individual Defendant City Officers at any time. This request specifically seeks the complete
Department “CR” file for each Complaint; a print-out of the disciplinary histories of each of the
Defendant Officers with information sufficient to determine the date of any Complaint, the type
of Complaint, and the result of any investigation or disciplinary proceeding with respect to each
such Complaint; and any Complaints filed in criminal or civil court.

       14.      All files relating to any of the Defendant Officers, including complete Department
personnel files, internal affairs files, training records, and employment evaluations.

        15.      Documents sufficient to show the location, movements, and assignments of each
of the individual Defendant Officers from September 15, 1991 through September 18, 1991 and
February 3 to February 5, 1992. This request specifically seeks but is not limited to the
Department Attendance and Assignment sheets for the specified time period, as well as any
personal or work-related calendars, diaries, journals, and the like. This request includes but is not
limited to any and all Documents that would be relevant to determining your location and
movements on the dates described in Plaintiff’s Complaint, such as, for example, any police
reports, arrest lists, ticket book, log sheets, time sheets, payroll records, overtime requests, etc.

         16.    Any insurance contracts or indemnification agreements that may cover the
liability of any of the Defendant Officers or the City for the claims Plaintiff makes in this case.

       17.      A photograph of each of the Defendant Officers showing each Officer’s
appearance. This request seeks the photograph of each Officer in the Department’s possession
taken closest in time to the Garcia Murder Investigation.

     18.     All Documents in Your possession relating to Plaintiff. This request includes
Documents obtained prior to, during and after the Garcia Murder Investigation.

        19.    All Documents that support or relate to any of your responses to any of Plaintiff’s
Interrogatories or Requests for Admission in this case.

       20.     All Documents comprising, containing, or memorializing Communications of any
kind relating to this case, including but not limited to memos, letters, faxes, e-mails, reports,
notes, etc. This Request includes but is not limited to (a) all Communications between the

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Investigators and Plaintiff; (b) all Communications between the Investigators and the witnesses
in this case; (c) all Communications with employees of the Cook County Sheriff’s Department;
(d) all Communications with any other law enforcement agencies; (e) all Communications with
employees of the Cook County State’s Attorney’s Office; (f) all Communications between or
among any person within the Department; and (g) all Communications between any of the
Investigators. This request also includes any such Communications that are not included in the
Investigative File for the Garcia Murder Investigation.


       21.    Any Communications with the Police Review Board (“PRB”) regarding the
Rafael Garcia homicide, any of the Defendant Officers, Plaintiff’s conviction, Plaintiff’s post-
conviction proceeding or certificate of innocence proceeding.

      22.     All transcripts, tape recordings, and radio transmissions (or Documents
memorializing the same) relating to the subjects described in Plaintiff’s Complaint.

      23.     Any witness statements relating to any of the events described in Plaintiff's
Complaint in this action.

       24.     All Documents obtained from third parties (including but not limited to via third
party subpoena in this litigation), including but not limited to employment records, medical
records, prison/jail records, or any other records.

        25.     All Documents obtained via FOIA or other means that relate to, support, or rebut
any of the allegations or claims in Plaintiff’s Complaint.

        26.    Any and all “demonstrative” aids or exhibits which may be used at trial of this
cause. To the extent responsive Documents become available prior to the close of the discovery
period, please seasonably supplement your Responses.

        27.     All Documents Relating to any Rule 26 expert witnesses retained by Defendants
in this matter, including but not limited to: (a) all Communications to/from said expert(s) which
are not otherwise protected as work product under Rule 26; (b) all Documents provided to and
relied upon by said expert(s); (c) all notes, reports, and analysis by said expert(s); (d) all bills or
statements of the hours and compensation paid to or billed by the witness for work on this
matter; and (e) any transcripts of prior testimony or Rule 26 reports of said expert(s). To the
extent responsive Documents become available as the litigation proceeds, please seasonably
supplement your Responses.

        28.    All policies, procedures, general orders, special orders, and/or employee manuals
relating to how to conduct a felony crime investigation.

      29.    Any Documents relating to any written policies, procedures, or training
implemented by the Department that:
             a.     required Chicago police officers and/or police detectives to document
                    and/or memorialize the various developments in the investigation in such a
                    way that they would become part of the Investigative File as the
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                       investigation proceeded (thus, this request seeks all Documents relating to
                       this topic from the earliest of either the time the policy, procedure, or
                       training was implemented or the earliest date one of the Defendant police
                       officers joined the Department, all the way up to 2001);
               b.      governed how interrogations or questioning of suspects were to be
                       conducted, (thus, this request seeks all Documents relating to this topic
                       from the earliest of either the time the policy, procedure, or training was
                       implemented or the earliest date one of the Defendant police officers
                       joined the Department, all the way up to 2001);
               c.      governed how interviews or questioning of witnesses were to be
                       conducted, (thus, this request seeks all Documents relating to this topic
                       from the earliest of either the time the policy, procedure, or training was
                       implemented or the earliest date one of the Defendant police officers
                       joined the Department, all the way up to 2001);
               d.      required Chicago police officers and/or police detectives to produce and
                       disclose exculpatory evidence (thus, this request seeks all Documents
                       relating to this topic from the earliest of either the time the policy,
                       procedure, or training was implemented or the earliest date one of the
                       Defendant police officers joined the Department, all the way up to 2001);
               e.      required Chicago police to document and/or memorialize interrogations of
                       suspects and interviews of witnesses, and place these documents,
                       including all statements, in the Investigative File and/or otherwise make
                       them available by any other means to prosecutors (thus, this request seeks
                       all Documents relating to this topic from the earliest of either the time the
                       policy, procedure, or training was implemented or the earliest date one of
                       the Defendant police officers joined the Department, all the way up to
                       2001).
               f.      governed how lineups and/or photo arrays were to be conducted (thus, this
                       request seeks all Documents relating to this topic from the earliest of
                       either the time the policy, procedure, or training was implemented or the
                       earliest date one of the Defendant police officers joined the Department,
                       all the way up to 2001).

        30.     The contents of any training that You received on any of the following topics: (a)
interrogating witnesses and suspects; (b) interrogating juvenile suspects; (c) disclosing evidence
to the Cook County State’s Attorney’s Office; (d) memorializing information about a criminal
investigation in police documents, including but not limited on supplementary reports and
General Progress Reports; (e) maintaining street files, personal files or personal notes; and (f)
maintaining the Investigative File, Investigative File Case Folder and any associated inventories,
logs, or control cards.

        31.     All policies, procedures, general orders, special orders, rules, regulations, and/or
training relating to a Chicago police officer’s duties and obligations under Brady v. Maryland to
ensure that potentially exculpatory material is disclosed to a criminal defendant.




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       32.     All Documents relating to your total financial net worth, including your three
most recent tax returns.

       33.    All Documents that support a defense by you in this litigation that an award of
punitive damages would cause financial hardship.

       34.    Any and all Documents relating to any psychological testing or screening of any
kind performed on each Defendant Officer (a) before you were hired by the Department; and (b)
during your employment with the Department.

      35.     All physical evidence relating to any of the allegations in Plaintiff's Complaint or
Defendants’ defenses thereto.


Dated: October 14, 2019                      Respectfully submitted,

                                             ANTHONY JAKES

                                             By: s/ Russell Ainsworth
                                                 One of His Attorneys

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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on October 14, 2019, a copy of the

foregoing document was served on all counsel of record via electronic mail.


                                                             s/ Russell Ainsworth




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